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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

CASE NO. 21-cr-00034-WJM

UNITED STATES OF AMERICA,

             Plaintiff,

v.

1.    MICHAEL SHAWN STEWART, and
2.    BRYANT EDWIN SEWALL
           Defendant(s).


 UNOPPOSED JOINT MOTION FOR 180-DAY ENDS OF JUSTICE EXCLUSION OF
           TIME AND EXTENSION OF RELEVANT DEADLINES


      The defendants, Michael Shawn Stewart (“Mr. Stewart”) and Bryant Edwin

Sewall (Mr. Sewall), by and through the undersigned counsel, Jordan R. Deckenbach

and Kenneth M. Harmon, hereby move this Court, pursuant to 18 U.S.C. §

3161(h)(7)(A), for a 180-day ends of justice exclusion of time and continuance, including

a corresponding extension of relevant deadlines, including the pretrial motions deadline.

As grounds, they state as follows:

      1.     On February 4, 2021, an Indictment was filed in this case. Doc. 1. Mr.

Stewart made his initial appearance in this case on February 12, 2021. Doc. 7. On

February 12, 2021, Ms. Marci LaBranche entered her appearance for Mr. Stewart. Doc.

6. On February 16, 2021, Mr. Michael LaVelle entered his appearance on behalf of Mr.

Stewart. Doc. 11. On March 3, 2021, Mr. Sewall made his initial appearance in this

case. Doc. 19. Undersigned counsel for Mr. Sewall entered his appearance on March

11, 2021. Doc. 24.
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        2.       On January 4, 2022, Mr. LaVelle and Ms. LaBranche filed a motion to

withdraw as attorneys for Mr. Stewart. Doc. 53. At a January 11, 2022 hearing, the

Court granted their motion to withdraw as attorney. Doc. 57. At that same hearing, the

Court determined Mr. Stewart was eligible for a court appointed attorney. Doc. 57 and

58. On January 13, 2022, the undersigned counsel for Mr. Stewart entered his

appearance.

        3.       Undersigned counsel for Mr. Stewart has yet to receive discovery from the

government. Mr. Stewart’s former counsel has also not yet disclosed relevant work

product and evidence in his possession. Both the government and Mr. Stewart’s former

defense team are actively working to collect and disclose the voluminous discovery and

evidence in this case. The expectation is that this information will be delivered to the Mr.

Stewart’s new counsel in the coming weeks. Once this discovery is received, Mr.

Stewart’s new defense team will need to digest it and conduct investigation separately

and/or in conjunction with Mr. Sewall and his counsel. Mr. Stewart’s new defense team

may also need to retain and consult with experts as part of the investigation. These

decisions will, in turn, likely impact upon the trial preparations of Mr. Sewall and his

defense and, depending upon these decisions, affect their trial-readiness as well. 1

        4.       Pretrial motions are currently due March 14, 2022; a trial preparation

conference is set for April 4, 2022, and trial is set to begin April 20, 2022. Doc. 44.




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         As the Court is aware, Mr. Stewart and his former defense team entered into a joint defense agreement
with Mr. Sewall and his counsel. Both defense teams have, to date, been sharing resources and information as part
of a contemplated joint defense. In the event that that joint arrangement were to cease or be altered in a material
way, however, Mr. Stewart and his counsel would need more time to recruit and engage their own set of
consultants and potential experts.
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       5.     For Mr. Stewart’s new counsel to effectively represent Mr. Stewart’s and

coordinate a defense with Mr. Sewall, the undersigned counsel believe it is necessary to

continue the currently set dates in this case. Because Mr. Sewall’s trial preparations

have been conducted in conjunction and in coordination with those of Mr. Stewart to

date, Mr. Sewall’s undersigned counsel believes that his effective representation of Mr.

Sewall requires a continuance as well.

       6.     Specifically, Mr. Stewart and Mr. Sewall request a 180-day exclusion of

time from the Speedy Trial Act and a corresponding extension of the relevant dates,

including an extension of the pretrial motions deadline. Specifically, Mr. Stewart and

Mr. Sewall request the trial currently set for April 20, 2022 be continued 180-days to on

or about October 17, 2022.

       7.     The undersigned counsel have conferred with Assistant United States

Attorney Pegeen Rhyne and Anna Edgar, who expressed they have no objection to the

instant motion.

       8.     The facts of this case, the lack of evidence/discovery provided to date,

legal research, the need for new counsel to meet and confer with Mr. Stewart, and the

parties’ ongoing conferral in this case require additional time.

       9.     The undersigned counsel need additional time to research legal issues

relevant in this case. Counsel have identified possible legal and factual issues that

need to be pursued. However, additional time is needed to ensure complete factual

investigation and legal research prior to the filing of any pretrial motions. Further,

factual investigation is more complicated by the fact that the allegations are related to

conduct that occurred over a period of four years.

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      10.    The new undersigned counsel has conferred with Mr. Stewart via

telephone. Nevertheless, additional time is needed for the new counsel to meet with

Mr. Stewart in person to review this case, his options, and discuss how to proceed once

discovery is disclosed.

      11.    Finally, the undersigned counsel need time to confer on this case among

themselves and with government counsel. That conferral can only begin in earnest

once Mr. Stewart’s new counsel has had an opportunity to review discovery and meet

with Mr. Stewart. Both undersigned counsel and government counsel believe additional

conferral is both necessary and appropriate before deciding how this case will progress.

      12.    In light of the above, counsel believes 180 days should be excluded from

the computation of the Speedy Trial Act clock. Newly appointed counsel for Mr. Stewart

does not believe he will be able to effectively represent Mr. Stewart under the currently

set deadlines and dates. Undersigned counsel for Mr. Sewall shares this same

assessment as pertains to the defense of his client.

      13.    Among the factors, applicable here, which the court is to consider in

determining whether to grant a continuance pursuant to 18 U.S.C. § 3161(h)(7)(A) are:

      a.     Whether the failure to grant the continuance would result in a miscarriage

of justice. See 18 U.S.C. § 3161(h)(7)(B)(i). Given the circumstances set forth in

paragraphs 7 through 11 supra, Mr. Stewart and Mr. Sewall believe that would be the

case here.

      b.     This Court may also consider the complex nature of the case. The

financial instruments and transactions at issue are voluminous and complex. It would be

unreasonable to expect adequate preparation for pretrial proceedings or for the trial

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itself could occur within the current time limits. 18 U.S.C. § 3161(h)(7)(B)(ii). The

defense believes again, this is the case as new counsel has not yet received discovery.

         14.   In support of this motion Mr. Stewart and Mr. Sewall addresses the factors

articulated in United States v. West, 828 F.2d 1468, 1469-70 (10th Cir. 1987). This

outline of factors is consistent with the discussion concerning the adequacy of the

record in an ends-of-justice continuance context found in United States v. Toombs, 574

F.3d 1262 (10th Cir. 2009), and United States v. Williams, 511 F.3d 1044 (10th Cir.

2007):

                In West the Tenth Circuit outlined certain factors they look to
         when weighing whether a denial of a continuance is arbitrary or
         unreasonable. These factors include the diligence of the party
         requesting the continuance; the likelihood that the continuance, if
         granted, would accomplish the purpose underlying the party’s expressed
         need for the continuance; the inconvenience to the opposing party, its
         witnesses, and the court resulting from the continuance; the need
         asserted for the continuance and the harm the appellant might suffer as
         a result of the district court’s denial of the continuance.

Applying the West factors Mr. Stewart and Mr. Sewall state as follows:

         a.    Counsel has exercised diligence. The discovery is voluminous. New

counsel has not been able to review discovery. New counsel has spoken and conferred

with Mr. Stewart via telephone. Counsel has identified several potential issues that

require legal and factual research and investigation. New counsel has not begun to

complete those tasks as new counsel is still awaiting initial discovery. These tasks will

be ongoing and additional time is needed to complete such tasks. Simply stated,

despite the diligent efforts that have already gone into Mr. Stewart and Mr. Sewall’s

case, additional time will be required to effectively represent them in these proceedings,



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including the filing of pretrial motions; at trial, if trial is necessary; or to help them

knowingly and intelligently decide to enter into a plea agreement.

       b.      If this continuance is granted, counsel will have additional time to

complete the stated tasks. The continuance, if granted, would accomplish the purpose

underlying Mr. Stewart and Mr. Sewall’s need for the continuance.

       c.      The government does not object to the defense request of a continuance

of the trial and there is no information suggesting that any government witnesses would

be inconvenienced. Counsel does not presume in any given instance that the Court

would or would not be inconvenienced by a requested continuance.

       d.      The final West factor is the need asserted for the continuance and the

harm that the defendant might suffer as a result of a denial. The need for the

continuance is described throughout this motion. New counsel and his office must be

allowed to review the discovery, conduct legal research and factual investigation, confer

with Mr. Stewart, confer with Mr. Sewall’s counsel, and confer with the government.

Without the exclusion of a period of time from the speedy trial calculations, Mr. Stewart

and Mr. Sewall’s right to be adequately and effectively represented in these

proceedings will be seriously jeopardized.

       15.     The undersigned counsel believe that the ends of justice are best served

by the granting of such continuance and such interest outweighs the best interest of the

public, and Mr. Stewart’s and Mr. Sewall’s, in a speedy trial.

       WHEREFORE, Mr. Stewart and Mr. Sewall request that A) this unopposed

motion be granted, B) the Court enter an order extending the pretrial motions deadline,

and C) the court enter an order excluding 180 days in the computation of time within

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which the trial in this case must commence under the Speedy Trial Act, 18 U.S.C. §

3161, et al.

                                        Respectfully submitted,

                                        VIRGINIA L. GRADY
                                        Federal Public Defender

                                        s/ Jordan R. Deckenbach
                                        JORDAN R. DECKENBACH
                                        Assistant Federal Public Defender
                                        111 South Wolcott Street
                                        Casper, WY 82601
                                        Telephone: (307) 772-2781
                                        Jordan_Deckenbach@fd.org
                                        Attorney for Mr. Michael Stewart

                                        s/ Kenneth M. Harmon
                                        KENNETH M. HARMON
                                        Springer & Steinberg, P.C.
                                        1600 Broadway, Suite 1200
                                        Denver, CO 80202-4920
                                        Telephone: 303-861-2800
                                        kharmon@springersteinberg.com
                                        Attorney for Mr. Bryant Sewall




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                              CERTIFICATE OF SERVICE

        I hereby certify that on January 24, 2022, I filed the foregoing Unopposed
Motion For 180-Day Ends Of Justice Exclusion Of Time And Extension Of
Relevant Deadlines with the Clerk of Court using the CM/ECF system, which will send
notification of such filing to the following e-mail address:

       Pegeen D. Rhyne, Assistant United States Attorney
       E-mail: pegeen.rhyne@usdoj.gov

       Anna K. Edgar, Assistant United States Attorney
       E-mail: anna.edgar@usdoj.gov

        I hereby certify that I have mailed or served the document or paper to the
following participant in the manner (mail, hand-delivery, etc.) indicated next to the
participant’s name:

       Michael Shawn Stewart (via U.S. mail)

       Bryant Edwin Sewall (via U.S. mail)

                                          s/ Jordan R. Deckenbach
                                          JORDAN R. DECKENBACH
                                          Assistant Federal Public Defender
                                          111 South Wolcott Street
                                          Casper, WY 82601
                                          Telephone: (307) 772-2781
                                          Jordan_Deckenbach@fd.org
                                          Attorney for Mr. Michael Stewart


                                          s/ Kenneth M. Harmon
                                          KENNETH M. HARMON
                                          Springer & Steinberg, P.C.
                                          1600 Broadway, Suite 1200
                                          Denver, CO 80202-4920
                                          Telephone: 303-861-2800
                                          kharmon@springersteinberg.com
                                          Attorney for Mr. Bryant Sewall




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